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 6     E-mail:    pmore@msh.law
 7
 8     Attorneys for Plaintiff
 9
10                          UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
13
         INTERNATIONAL                               Case No.: 2:18-cv-03681-KS
14
         BROTHERHOOD OF
15       TEAMSTERS, LOCAL 396,
16                                                   DECLARATION OF JIM
                           Plaintiff,                SMITH IN SUPPORT OF
17
                     vs.                             MOTION TO COMPEL
18                                                   ARBITRATION
19       NASA SERVICES, INC.; and
         DOES I through X,                           Date: August 20, 2018, 1:30 p.m.
20
                                                     Judge: Hon. Stephen Wilson
21                         Defendants.
                                                     Location: Courtroom 10A
22
23
24
25
26
27
28


       DECLARATION OF JIM SMITH IN SUPPORT OF MOTION TO COMPEL    CASE NO. 2:18-cv-03681-KS
Case 2:18-cv-03681-SVW-E Document 21-2 Filed 07/23/18 Page 2 of 17 Page ID #:107
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 1                                   PROOF OF SERVICE
 2           STATE OF CALIFORNIA, CITY AND COUNTY OF SAN FRANCISCO
 3
             I am employed in the city and county of San Francisco, State of
 4     California. I am over the age of eighteen years and not a party to the within
 5     action; my business address is-' 595 Market Street, Suite 800, San Francisco,
 6     California 94105.
 7             On July 23, 2018 I served a copy of the following document(s) described
 8     as-
 9
        DECLARATION OF JIM SMITH IN SUPPORT OF MOTION TO COMPEL
10      ARBITRATION
11
12     on the interested party(ies) to this action as follows:
13     By ECF System - Court’s Notice of Electronic Filing:
14
              L Brent Garrett
15
              Atkinson Andelson Loya Ruud and Romo
16            12800 Center Court Drive South Suite 300
17            Cerritos, CA 90703
              562-653-3200
18
              Fax: 562-653-3333
19            Email: bgarrett@aalrr.com
20
              Attorneys for NASA Services, Inc.
21
22
23          I declare under penalty of perjury under the laws of the State of
       California that the foregoing is true and correct.
24
25             Executed on this 23rd day of July 2018, at San Francisco, California.
                                                           )
26
27                                                       Katherine Maddux
28

                                               1
       CERTIFICATE OF SERVICE                                     CASE NO. 2:18-cv-03681 -KS
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                              EXHIBIT 1
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                                Teamsters Local Union No. 396
                                     Package and General Utility Drivers
                                                             Affiliated with the
                                INTERNATJONAL BROTHERHOOD OF TEAMSTERS


  Executive Board               February 14, 2017                                  SENT VIA EMAIL AND CERTIFIED U.S. MAIL
    Ron Herrera
   Secretary Treasurer
                                Jack Topalian
    Jay Phillips                NASA Services
       President                1100 S. Maple Avenue
  Javier Bonales                Montebello, CA 90640
     Vice President
                                Dear Mr. Topalian,
   David Castro
  Recording Secretary          As you are aware, Teamsters Local Union No. 396 (Local 396) and NASA Services are parties to
  Rafael Camacho                a labor peace agreement that is currently in effect. This letter provides notice to you that Local
        Trustee                 396 intends to organize Employees covered by that agreement.
  Kathy Arredondo               Pursuant to paragraph 7 of the agreement, NASA Services is required to provide access to its
        Trustee                 premises and to its Employees by Local 396, subject to the conditions prescribed in the
                                agreement. This letter shall serve as a courtesy notice to NASA Services that Local 396 will be
   Ruben Duran                       .   .           .   .        .

        Trustee                 exercising that privilege, effective immediately and in the days and weeks to come.
                                Furthermore, also pursuant to paragraph 7, we request that Local 396 and NASA Services provide
                                a joint letter to all Employees, summarizing the terms of the labor peace agreement, in language
                                approved by both NASA Services and the Local 396, which shall be posted by NASA Services,
                                pursuant to the terms provided in the agreement. We will be providing a draft letter for your review
                                in the near future.

                               And finally, pursuant to paragraph 8, NASA Services is required to provide Local 396 with a copy
                               of its Employer handbook, as well a list of Employees, including both full- and part-time
                               Employees, showing their job classifications, departments, seniority dates, and home addresses
                               (to the extent known by NASA Services). Please provide the aforementioned handbook and list
                               within thirty (30) days to the following address:

                                             Jim Smith
                                             Teamsters Local Union No. 396
                                             880 Oak Park Road, Suite 200
                                             Covina, CA 91724

                               Please also provide this list via email in Excel format to jimsmith~local396.net. Under our labor
                               peace agreement, this list must be updated and provided to Local 396 monthly. Please provide
                               future lists to the Local 396 contact listed above, unless instructed otherwise.

                                 espectfully,



                               Ron Herrera
                               Secretary-Treasurer
                               Teamsters Local Union No. 396


                                CERTIFIED U.S. MAIL # 7014 2870 0000 7839 0291
                                             880 Oak Park Road • Suite 200’ Covina, California 91724
                      Phone (626) 915-3636        (877) 785-8396 Fax (626) 915-3635 E-mail: reamsters@loca1396.net
                                                                            0



                                                                                                                      Exhibit 1
                                                                                                                           1-1
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                              EXHIBIT 2
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                                Teamsters Local Union No. 396
                                    Package and General Utility Drivers
                                                       Affiliated with the
                                INTERNATIONAL BROTHERHOOD OF TEAMSTERS


  Executive Board              April10, 2017                  SENT VIA EMAIL AND CERTIFIED U.S. MAIL
    Ron Herrera
   Secretary Treasurer

    Jay Phillips               Jack Topalian
       President               NASA Services
   Javier Bonales              1100 S. Maple Avenue
     Vice President            Montebello, CA 90640
   David Castro
  Recording Secretary          Dear Mr. Topalian,
  Rafael Camacho
        Trustee                On February 14, 2017, our office sent you a letter providing notice that
                               Local 396 intends to organize Employees covered by the labor peace
  Kathy Arredondo
        Trustee
                               agreement (LPA) currently in effect, to which Teamsters Local Union No.
                               396 (Local 396) and NASA Services are parties. We also requested
   Ruben Duran                 certain information, pursuant to the LPA. As of this date, we have not
        Trustee
                               received a response from you. We are therefore once again requesting
                               that you comply with the following provisions of the LPA, without delay:

                               Pursuant to paragraph 7 of the agreement, NASA Services is required to
                               provide access to its premises and to its Employees by Local 396, subject
                               to the conditions prescribed in the agreement. This letter shall serve as a
                               courtesy notice to NASA Services that Local 396 will be exercising that
                               privilege, effective immediately, and in the days and weeks to come.

                               Furthermore, also pursuant to paragraph 7, we request that Local 396 and
                               NASA Services provide a joint letter to all Employees, summarizing the
                               terms of the labor peace agreement, in language approved by both NASA
                               Services and the Local 396, which shall be posted by NASA Services,
                               pursuant to the terms provided in the agreement. We will be providing a
                               draft letter for your review in the near future.

                               And finally, pursuant to paragraph 8, NASA Services is required to provide
                                Local 396 with a copy of its Employer handbook, as well a list of
                                Employees, including both full- and part-time Employees, showing their
                               job classifications, departments, seniority dates, and home addresses (to
                               the extent known by NASA Services).




                                        880 Oak Park Road Suite 200 Covina, California 91724
                      Phone (626) 915-3636 (877) 785-8396 Fax (626) 915-3635 E-mail: teamsters@loca1396.net
                                                           e
                                                                                                              Exhibit 2
                                                                                                                   2-1
Case 2:18-cv-03681-SVW-E Document 21-2 Filed 07/23/18 Page 10 of 17 Page ID #:115




       Please provide the aforementioned handbook and list immediately to the following
       address:

              Jim Smith
              Teamsters Local Union No. 396
              880 Oak Park Road, Suite 200
              Covina, CA 91724

       Please also provide this list via email in Excel format tojimsmith@local396.net. Under
       our labor peace agreement, this list must be updated and provided to Local 396
       monthly. Please provide future lists to the Local 396 contact listed above, unless
       instructed otherwise.

       If we do not hear from you by close of business on Monday April 17, 2017, we will have
       no other alternative but to pursue enforcement through Section 14 of the LPA.

       Respectfully,



       Ron Herrera
       Secretary-Treasurer
       Teamsters Local Union No. 396


       CERTIFIED U.S. MAIL # 7014 2870 0000 7839 0383




                                                                                          Exhibit 2
                                                                                               2-2
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                               EXHIBIT 3
Case 2:18-cv-03681-SVW-E Document 21-2 Filed 07/23/18 Page 12 of 17 Page ID #:117




    ••••o AT&T 4G                                                                                                                                                  5:31 PM      -i $ 79%
     <

                        Mario Beltran

                     Wed, Aug 23, 2:18 PM

                      A                                                                                                                                                                    k
                          Did you get my email
                          from last Thursday?
                          .....................................................................................................................................■




                      Thu, Aug 24, 2:51 PM




                                                                                                                                                                                           k
                         Ok, keep me posted.
                         I'll check back in a
                         couple of days.

                    Mon, Aug 28,12:29 PM

                                                                                                                                                                       A                   k
                                                                                                                                                                           Anv update?
                                                                                                                                                                                               Exhibit 3
                                                                                                                                                                                                    3-1
Case 2:18-cv-03681-SVW-E Document 21-2 Filed 07/23/18 Page 13 of 17 Page ID #:118




    ••••o AT&T 4G               5:31 PM             ■i $ 79%
                                                                !   ■
     <

                        Mario Beltran                         ©
                      Wed, Sep 6,11:18 AM




                       Fri, Sep 8,11:03 AM




                     Wed, Sep 13, 2:05 PM




                     Wed, Sep 13, 3:06 PM
        ■MMHIMB »i               ..... „
         I am in Mexico. Will
         call you Friday when
         I aet back.
                                                                        Exhibit 3
                                                                             3-2
Case 2:18-cv-03681-SVW-E Document 21-2 Filed 07/23/18 Page 14 of 17 Page ID #:119




    ••••o AT&T 4G               5:31 PM             -i 179% my
     <

                         Mario Beltran




                       Fri, Sep 15,1:31 PM

                          A
                              I am available for a
                              call anytime this
                              afternoon.

                     Thu, Sep 21,12:00 PM

                      A
                          Any update from the
                          clients?




                                                                     Exhibit 3
                                                                          3-3
Case 2:18-cv-03681-SVW-E Document 21-2 Filed 07/23/18 Page 15 of 17 Page ID #:120




    ••••o AT&T 4G               5:31 PM             -f I 79%
     <

                          Mario Beltran

                      Fri, Sep 22, 10:20 AM

                                    A
                                        How did your
                                                ¥
                                        meeting go?

                       Fri, Sep 22,1:03 PM




                     Sun, Sep 24,10:17 AM

                      A
                          How did the meeting
                          go on Friday?

                     Wed, Sep 27,1:12 PM

                                                                     Exhibit 3
                                                                          3-4
Case 2:18-cv-03681-SVW-E Document 21-2 Filed 07/23/18 Page 16 of 17 Page ID #:121




    ••••o AT&T 4G               5:31 PM             -i i 79%
     <

                          Mario Beltran
                     Sun, Sep 24,10:17 AM


                          How did the meeting
                          go on Friday?

                      Wed, Sep 27,1:12 PM

                      d
                          How did the meeting
                          go last Friday? We
                          need to move
                          forward with this.

                     Fri, Sep 29,10:35 AM

                                      d
                                          Any update?

                     Mon, Oct 2,11:38 AM



                                                                     Exhibit 3
                                                                          3-5
Case 2:18-cv-03681-SVW-E Document 21-2 Filed 07/23/18 Page 17 of 17 Page ID #:122




   jimsmith (5) local396.net




  From: Jim Smith <jimsmith(5>local396.net>
  Date: Thursday, August 17, 2017 at 11:30 AM
  To: Mario Beltran <mario(5)principiagroupllc.com>
  Subject: Re: Meeting with NASA



  Good morning Mario,

  I wanted to follow-up on our meeting earlier this week, and picking up on Ron's suggestion, coordinate with you directly
  regarding next steps.

  There are a couple of steps that I thought we could take in the immediate future to continue the momentum we have been
  able to establish following our last two meetings in fostering a spirit of cooperation and partnership.

  1) Schedule, plan and conduct a meeting between the Union, ownership/management, and the employees, at which a unified
  message is conveyed by both sides that the parties view this relationship as a partnership, and that we look forward to
  working together to help grow the business, and make NASA a great company for which to work. This meeting would take
  place either immediately before or after working hours, in order to not interfere with the business, and to assure maximum
  participation;

  2) Craft, post and distribute a joint letter to the same effect.

  Separate from this, we would also like to renew our request for a current list of NASA employees showing their job
  classifications, departments, seniority dates, and home addresses. Providing this list will assist us in communicating with
  NASA employees and further convey this message of cooperation and partnership. It will also demonstrate good will on the
  part of the Company, and send a message to the Union and the employees that NASA is prepared to live up to its agreement
  with the Union.

  I'm interested in hearing your thoughts and feedback, and am open to suggestions on other steps we can take to move this
  partnership forward and continue the momentum we have recently been able to establish.

  Respectfully,




  Director of Organizing
  Political Coordinator
  Business Representative
  Teamsters Local Union No. 396
  880 Oak Park Road, Suite 200
  Covina, CA 91724
  (626) 915-3636 x304 (office)
  (213) 447-2144 (cell)
  (626) 915-3635 (fax)
  jimsmith(5) local396.net
                                                                     10



                                                                                                                Exhibit 3
                                                                                                                     3-6
